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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION,
    !
    UNITED STATES OF AMERICA,
    !
           Plaintiff,
    -vs-                                                Case No. 17-20183
                                                        Hon. MARK A. GOLDSMITH
    D-5, HAROLD LASHAWN NERO,
    !
          Defendant.
    _______________________________________________________________________/
    !
                        MOTION FOR THE REVOCATION OF THE
                                DETENTION ORDER
                                                 !
        Now comes Defendant, D-5, HAROLD LASHAWN NERO, by and through his

    counsel, Mark H. Magidson, and in support of his Motion for the Revocation of the

    Detention Order previously entered in this matter, states unto this Honorable Court as

    follows:

        1. Defendant is charged with in a multi- count Indictment, with Count I, Sex

           Trafficking Conspiracy, contrary to 18 U.S.C. §1594(c); Count II, sex trafficking

           by force, fraud and coercion, contrary to 18 U.S.C. §1591(a)&(b); Count III, sex

           trafficking by force, fraud and coercion, contrary to 18 U.S.C. §1591(a)&(b);

           Count IV, Conspiracy to Distribute a Controlled Substance, Contrary to 21 U.S.C.

           §§ 841(a)(1)l 841(b)(1)(A); 841(b)(1)(C); and Count VIII, Maintaining Drug-
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         Involved Premises, contrary to 21. U.S.C., §856(a)(1) and or aiding and abetting

         of the same, contrary to 18 U.S.C. §2.

      2. He had been living at the Victory Motel when the Government raided the

         premises. He was under-employed at the time and was only able to pay for his

         room and board by doing odd jobs around the hotel such as cleaning up around

         the outside of the motel or doing similar basic work around the inn.

      3. Shortly following the execution of the search warrant, Nero was interviewed by

         the agents and thereafter released; he was not arrested for sometime later when

         agents came to arrest him at a home of a friend where he had been staying.

      4. He had not fled the city or avoided detection.

      5. Mr. Nero was arrested and thereafter arraigned on these charges on June 30,

         2017.

      6. Pleas of not guilty were entered on behalf of Mr. Nero.

      7. However, following his arraignment in this matter, Mr. Nero was detained based

         upon, among other things, the severity of the charges.

      8. He is currently in the custody of the U.S. Marshall and is being held in the

         Midland County Jail.

      9. However, in reviewing the Indictment there are no specific allegations that Mr.

         Nero engaged in any specific acts of violence or engaged in any specific action of

         drug distribution or specific acts of maintaining a drug premises or engaged in

         specific acts of sex trafficking.




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      10. The allegations against Mr. Nero are general in nature and allege in unspecific and

         vague terms that he “conspired” or “aided and abetted” in the foregoing activities

         without defining what he actually did.

      11. Indeed in going through substantial discovery thus far including written

         documents and video evidence, Mr. Nero is rarely mentioned directly or by his

         nickname of “Nephew”; only one mention of Nephew was made by a CI who

         claimed, “ he was at the Victory Motel.”

      12. He does not have any history of failing to appear for court date(s).

      13. It is Defendant’s position that the Magistrate Judge erred in finding that there

         were no conditions or combination of conditions that would satisfy the court that

         Mr. Nero would not be a danger to the community or that he would not be a flight

         risk.

      14. Through investigation by the defense, various witnesses have been located that

         know Mr. Nero as well or even better than the agents, who do not know him at all.

      15. For instance, Gregory Stocchi owns and operates a tree service business, and has

         known Mr. Nero for many years. He knows him to be a non-aggressive man who

         is a “gentle giant” because he is large, but not hostile. (See Exhibit A, letter from

         Mr. Stocchi, attached hereto).

      16. This gentleman also has indicated that he would provide his with work or that he

         could find one of several small companies operated by his friends that could

         provide Nero with employment.




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      17. In addition, Mr. Stocchi has indicated in his attached letter that Mr. Nero could

         stay with him as long as he needs to.

      18. James Thompson, Jr. is Mr. Nero’s father. He acknowledges not being the best

         role model having been incarcerated for the first 15 year’s of Harold’s life. Mr.

         Thompson notes that he and his son have a good relationship and he knows his

         son, Harold, to have a good heart and kind to women. In addition, Mr. Thompson

         is currently disabled and is dependent upon his son to “help me cope.” (See Letter

         attached, exhibit B, letter from James Thompson, Jr.)

      19. Kelly Spoor has known Harold Nero for 15-20 years. They are friends, not

         romantic. She never has observed Mr. Nero being violent nor has she ever heard

         people refer to him as being violent. She has observed him help people who were

         desperate. He would help people get clothes and food and he inspired others.

      20. Ms. Spoor also commented “Harold would walk with the girls who were too

         scared to walk alone to the store.” In many respects he was a guardian angel to a

         group of desperate people who lived in a “hellish place.” He is not perfect, but

         there is more good in him than bad. (See Exhibit C, letter from Kelly Spoor,

         attached hereto).

      21. April Romero has known Mr. Nero for seven years. They share a common

         lifestyle. She has personally never seen him being intimidating or violent. She

         describes him as being kind and good to other people “like when he feeds and

         clothes people.” She further notes that they talk sports together and respects her.

         (See Exhibit D, attached hereto)

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      22. Ms. Romero further notes that she has never heard anyone woman accuse Nero of

         forcing a woman to do anything nor has she heard of Nero being violent towards

         women; in “my world, women just don’t gossip, they share information about

         what is really going on…information saves lives.” She concludes that if Harold

         hit just one girl, she would have heard about it.

      23. Similarly, Catlynn Durham states that having been on the streets of Southwest

         Detroit, she got to know Harold Nero, a man she knows as “nephew” or “Sean.”

         She comments that Nero has been a positive influence on her life. She is aware of

         the claims being made against Mr. Nero and she knows they are false. She

         concludes that she knows from her own experience that Nero does not force

         women into drugs or prostitution. (See Exhibit F, attached hereto)

      24. Tiffany Wallen is 26 years old and has known Mr. Nero, who she knows as

         “Sean” or “Nephew” for two years. She met him at drug house where they were

         both purchasing narcotics. She was new to the City and was apprehensive. He

         calmed her down and made sure she was safe. She affirms that Nero never forced

         any of the girls to take drugs or forced them into prostitution. She normally avoids

         contact with the “authorities” but is willing to come forward to set the record

         straight, that Nero is not the man portrayed in the indictment. (See Exhibit G,

         attached hereto.)

      25. Eboni Berry has known Nero for a decade and she describes him as being a hero

         to the working girls on Michigan Avenue. She calls him “Sean.” Just like many of




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         the girls, he “was addicted, lost souls roaming Michigan Avenue.” (See Exhibit H,

         attached hereto)

      26. In the 10 years she has known him, he has never mistreated, harmed or

         disrespected her or any other woman to her knowledge. If anyone were in need,

         Nero would “step out of his skin and give it to you.” She stayed with him at

         various times and over the years “he took care of me and a few other girls.”

      27. She read about the allegation against him in the newspaper and she concludes that

         the allegations “are totally false.” He would walk with the girls up Michigan

         Avenue to protect them, but he would not harm them. He a loving, caring and

         spiritual individual who would never exploit females such as herself.

      28. The women who have come forward are the workingwomen of Michigan Avenue

         and are well acquainted with what was occurring at the Victory Inn; they

         personally confirm that the Government got it wrong with accusing Nero of the

         chargers against him.

      29. The people who know Mr. Nero believe him to be a “gentle giant” and not a man

         known for hostility and violence. If released on bond he would not pose a danger

         to the community.

      30. Mr. Nero believes there are a combination of conditions that would satisfy this

         court’s concern for the public safety and the concern for appearing for court

         proceedings.




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      31. For instance this court can impose a GPS tether to be worn be Nero limiting his

         travels. Further, this court could impose a curfew restricting his mobility

         allowing him only to go to work or medical appointments.

      32. Other conditions can be imposed to limit his associations to non-felons and

         prohibit contact with persons with a prior criminal history.

      33. Additionally, because Mr. Nero has a long history of addiction, and participated in

         drug therapy and rehabilitation at Shar House in Detroit; another condition of

         bond that the court could impose is regular drug testing and therapy,

      34. In short there are conditions that could be imposed that would allow Mr. Nero to

         be released on bond while awaiting trial.

                 WHEREFORE, for the foregoing reasons, Defendant Nero is respectfully

         requesting that the Order of Detention be set side and an order for personal

         release, with conditions, if necessary, be imposed allowing Mr. Nero to be free of

         detention pending trial.

                                                       Respectfully submitted,

         !
                                                By /s/Mark H. Magidson
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                                                       Attorney for Defendant Nero
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                DEFENDANT NERO’S BRIEF IN SUPPORT OF MOTION
                    FOR REVOCATION OF DETENTION ORDER
    !
    I. FACTUAL STATEMENT
    !
           Defendant is charged with in a multi- count Indictment, with Count I, Sex

    Trafficking Conspiracy, contrary to 18 U.S.C. §1594(c); Count II, sex trafficking by

    force, fraud and coercion, contrary to 18 U.S.C. §1591(a)&(b); Count III, sex trafficking

    by force, fraud and coercion, contrary to 18 U.S.C. §1591(a)&(b); Count IV, Conspiracy

    to Distribute a Controlled Substance, Contrary to 21 U.S.C. §§ 841(a)(1)l 841(b)(1)(A);

    841(b)(1)(C); and Count VIII, Maintaining Drug-Involved Premises, contrary to 21.

    U.S.C., §856(a)(1) and or aiding and abetting of the same, contrary to 18 U.S.C. §2.

           He had been living at the Victory Motel when the Government raided the

    premises. Years ago when he was released there from prison, he was released to the



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    Victory Inn. That is where he was paroled to, the premises having been approved by the

    Michigan Department of Corrections.

            Being marginally employed, he could not afford his room, however he was able to

    pay for his room by doing odd jobs around the motel such as cleaning up around the

    outside of the premises or doing similar basic work around the area.

            He had befriended many of the young women who were “working” at the motel

    or working up and down Michigan Avenue. He had been a part of the Michigan Avenue

    scene for many years, known to merchants, hustlers, police and customers. He did use

    drugs, but contrary to the assertions in the Indictment, he did not foist drugs upon the

    young women and conspire with others to force them into prostitution to pay off their

    drug or hotel debts.

        He was interviewed by the agents and released following this raid; he was not

    arrested for sometime later when agents came to arrest him. He had not fled the city or

    avoided detection. He had been living with a friend on the Westside. He does have a prior

    criminal record, but no history of failure to appear.

        Mr. Nero was arraigned on these charges on June 30, 2017. Pleas of not guilty were

    entered on behalf of Mr. Nero. However, following his arraignment in this matter, Mr.

    Nero was detained based upon, among other things, the severity of the charges. He is

    currently in the custody of the U.S. Marshall and is being held in the Midland County

    Jail.

        In reviewing the Indictment, there are no specific allegations that Mr. Nero engaged

    in any specific acts of violence or engaged in any specific action of drug distribution or

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    specific acts of maintaining a drug premises or engaged in specific acts of sex trafficking.

    While he does have a prior criminal record, he was not on probation or parole at the time

    of these alleged offenses. He believes that he is being detained in this case because of his

    past record, and not what he did in this case.

       The discovery provided to date give few clues as to what if anything Mr. Nero did to

    participate in the charged conspiracies or what he did to aid and abet other Defendants.

    Mr. Nero’s long history of addiction put him in similar circumstances of many of the

    women in this case who were (are) addicted to narcotics. However, in Mr. Nero’s case,

    when he can get treatment, he can hold and maintain employment and is reliable.

       Gregory Stocchi is his former employer. He has a tree service. He has hired Mr. Nero

    in the past and is willing to hire him again. He knows Mr. Nero to be non-aggressive and

    gentle, completely the opposite of what the Government has portrayed him in the

    Indictment. In fact, Mr. Stocchi is willing to have Mr. Nero live with him during the

    pendency of this case and provide him employment, either in his company or in another

    company owned by colleagues.

       James Thompson, Jr. is Mr. Nero’s father. He acknowledges not being the best role

    model having been incarcerated for the first 15 year’s of Harold’s life. Mr. Thompson

    notes that he and his son have a good relationship and he knows his son, Harold, to have

    a good heart and kind to women. In addition, Mr. Thompson is currently disabled and is

    dependent upon his son to “help me cope.” Kelly Spooner has known Harold Nero for

    15-20 years. They are friends, not romantic. She never has observed Mr. Nero being

    violent nor has she ever heard people refer to him as being violent. She has observed him

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    help people who were desperate. He would help people get clothes and food and he

    inspired others.

        Ms. Spoor is a woman familiar with the Michigan Avenue lifestyle. She also

    commented “Harold would walk with the girls who were too scared to walk alone to the

    store.” In many respects he was a guardian angel to a group of desperate people who

    lived in a “hellish place.” He is not perfect, but there is more good in him than bad.

        The other working girls of Michigan Avenue know Nero to be a generous and gentle

    person. They are companions both in their common addiction to drugs, and in the

    lifestyle known as Michigan Avenue. Possession and using drugs may be a crime, but it is

    not the type of crime that justifies pre-trial detainment, especially since there are

    alternatives. The people who know Mr. Nero believe him to be a “gentle giant” and not a

    man known for hostility and violence. If released on bond he would not pose a danger to

    the community

        II. ARGUMENT

            THE MAGISTRATE JUDGE ERRED IN CONCLUDING THAT THERE
            WERE NO CONDITIONS OR CIRCUMSTANCES THAT WOULD
            PROTECT SOCIETY AND ASSURE THE DEFENDANT’S
            APPEARANCE.
        !
            According to the provisions of 18 U.S.C. § 3142(e), a defendant shall be detained

    pending trial if, after a hearing, the judicial officer finds that no condition or set of

    conditions will reasonably assure the appearance of the person as required and the safety

    of any other person and the community. Section 3142(g) sets out the factors to be

    considered in making that determination. Those factors are: (1) the nature and


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    circumstances of the offense charged; (2) the weight of the evidence against the person;

    (3) the history and characteristics of the person; and (4) the nature and seriousness of the

    danger to any person or the community that would be posed by the defendant's release.

        “The law requires reasonable assurance but does not demand absolute certainty.”

    United States v. Alston, 420 F.2d 176, 178 (D.C.Cir.1969); see also United States v. Orta,

    760 F. 2d 887, 891–92 (8th Cir.1985):



    the district court erred in interpreting the “reasonably assure” standard set forth in the

    statute as a requirement that release conditions “guarantee” community safety and the

    defendant's appearance. Such an interpretation contradicts both the framework and the

    intent of the pretrial release and detention provision of the 1984 Act. Congress envisioned

    the pretrial detention of only a fraction of accused individuals awaiting trial. The district

    court's interpretation, however, virtually mandates the detention of almost every pretrial

    defendant: no other safeguard can “guarantee” the avoidance of the statutory concerns.

    !
        The structure of the [bail] statute mandates every form of release be considered before

    detention may be imposed. That structure cannot be altered by building a “guarantee”

    requirement atop the legal criterion erected to evaluate release conditions in individual

    cases. United States v. Orta, 760 F.2d 887, 892 (8th Cir.1985).


        The Court reviews a defendant's appeal of an order of detention de novo. U.S. v. Leon,

    766 F.2d 77 (2d Cir.1985); see also U.S. v. Koubriti, 2001 WL 1525270 (E.D.Mich.2001)

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    (Although the Sixth Circuit has not squarely addressed the issue of the proper standard of

    review of a Magistrate Judge's detention order, the majority of the circuits that have

    considered the issue have ruled that a de novo review is appropriate); U.S. v.

    Runnderstand, 2008 WL 927774 (E.D.Mich.2008). In reviewing the appeal, the Court

    “may ‘start from scratch’ and hold a new hearing or review the transcripts of the

    proceedings before the magistrate.” United States v. Hammond, 204 F.Supp.2d 1157,

    1162 (E.D.Wis.2002) (citing United States v. Torres, 929 F.2d 291, 292 (7th Cir.1991));

    see also United States v. Vasquez, 241 F.Supp.2d 34, 35 (D.Me.2003) (court considered

    both the transcript of the hearing before the Magistrate Judge and additional evidence

    produced at a hearing).


             The Defendants' guilt or innocence need not be decided at a detention hearing.

    Indeed, “the statute neither requires nor permits a pretrial determination of guilt.” See

    United States v. Johnson, 2007 WL 1712541 at *1 (E.D.Mich. June 13, 2007) (citing

    United States v. Gebro, 948 F.2d 1118, 1121 (9th Cir.1991)). Nonetheless, the weight of

    the evidence the Government has against Defendants is an important consideration. In

    fact, the seriousness of the charged offenses, the weight of the evidence, and whether the

    Defendants are a danger to the community, are inextricably intertwined.

    !
        While 18 U.S.C. 3142(e)(3) creates a rebuttal presumption in favor of detention in this

    case, the presumption requires merely that Mr. Nero “come forward with evidence that he

    does not pose a danger to the community or risk of flight” and that burden of production

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    in rebuttal requires Mr. Nero to present some evidence in his favor while the burden of

    persuasion continues to rest with the Government. United States v. Mercedes, 254 F. 3d

    433, 436 (2nd Cir., 2001); United States v. Strickland, 932 F.2d 1353, 1355 (10th Cir.

    1991).


      The Sixth Circuit has held that in both presumption and non-presumption cases, the

    Government maintains the burden of proving that no condition of release can assure the

    defendant will appear nor that they can assure the safety of the community. United States

    v Stone, 608 F.3d 939,946 (2010). Further the Court in Stone emphasized that in cases

    “involving multiple defendants who are not similarly situated, the dangerousness inquiry

    must be an individualized one. Just as at trial, in which courts and juries must resist the

    urge to find guilt or innocence by association, each defendant is entitled to have an

    individualized determination of bail eligibility, Id.


      The required individualized assessment must be viewed in the context of a Defendant’s

    strong Fifth Amendment liberty interest such that there are limited circumstances in

    which the Government’s interest in detention for purposes of community safety or to

    guarantee appearance are limited. United States v. Salerno, 481 U.S. 739,749-50, 107

    S.Ct. 2095, 95 L.Ed.2d 697 (1987). There the Court held that that it was not a deprivation

    of Due Process to deny bail to the leader and captain of a Mafia crime family who were

    accused of 35 racketeering acts and many continuous violent acts.


      Here, as noted in the Motion, the allegations in the Indictment are sparse and vague.


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    The Indictment outlines serious allegations against other members of this conspiracy, but

    there is nothing specific as to Mr. There are no specific allegations as to Mr. Nero, only

    vague conclusions. The history of Mr. Nero is that has problem with addiction. He has a

    history of people taking advantage of him when he used drugs. But the people who know

    him, attest to the fact that he is not abusive and in fact can be a “guardian angel” to those

    who are in distress


        WHEREFORE, Mr. Nero respectfully request that this Court review this matter, and

    permit Defendant to call witnesses, particularly Mr. Stocchi and others who can attest that

    they can provide Nero with a job and accommodations and attest to what was really

    going on at the Inn as it relates to Nero, and after due consideration, release Mr. Nero on

    an unsecured bond with any conditions this court deems reasonable and necessary.


                                                   Respectfully submitted,

    !
                                                   By /s/Mark H. Magidson
                                                          MARK H. MAGIDSON (P25581)
                                                          Attorney for Defendant Nero
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                                 CERTIFICATE OF SERVICE

           I certify that on December 19, 2017 I electronically filed the above MOTION

    FOR THE REVOCATION OF THE DETENTION ORDER with the Clerk of the Court

    using the ECF system, which will send notification of such filing to the parties of record.



                                                         By: s/Mark H. Magidson
                                                           MARK H. MAGIDSON (P25581)
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